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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA


 ATLANTIC WINDOW CLEANING, INC.

             Plaintiff,

 v.                                        CASE NO. 22-60409-CIV-SMITH

 RACHEL EULER, et al.

            Defendants.
 __________________________________/


                 NOTICE OF CANCELLATION MEDIATION

       PLEASE TAKE NOTICE that the mediation set to take place in this matter

 on December 12, 2022 at Orange County Bar Association, 880 N. Orange Ave.,

 Orlando, FL 32801, HAS BEEN CANCELLED.

 Dated: November 17, 2022           Respectfully submitted,

                                    SHUMAKER, LOOP & KENDRICK, LLP

                                    /s/ Adria M. Jensen
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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 17, 2022, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system which will

 provide notice to all attorneys of record.

                                                  /s/ Adria M. Jensen
                                                  Attorney




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